                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN


JOHN M. ANDERSON, et al.,

             Plaintiffs,

      v.                                       Case No. 23-CV-1430

WISCONSIN DEPARTMENT OF
CORRECTIONS, et al.,

             Defendants.


                     DECLARATION OF EMILY DAVIDSON


      I, EMILY DAVIDSON, declare pursuant to 28 U.S.C. § 1746 and under the

penalty of perjury, that the following is true and correct:

      1.     I make this declaration based on my personal knowledge and my review

of records maintained in the ordinary course of business at the Wisconsin Department

of Corrections (Corrections).

      2.     I am employed by Corrections as a Corrections Complaint Examiner in

Madison, Wisconsin. I have held this position since January 24, 2016.

      3.     As a Corrections Complaint Examiner, I primarily investigate inmate

complaints appealed to the Office of the Secretary and then recommend decisions and

disposition narratives for approval by the Office of the Secretary.

      4.     Wisconsin has established the Inmate Complaint Review System (ICRS)

as the principal administrative remedy for inmates in state custody. Accordingly, the

ICRS provides a process for how grievances are expeditiously raised, investigated,



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and decided. An inmate may use the ICRS to raise issues regarding policies, rules,

living conditions, or employee actions that personally affect the inmate or institution

environment.

      5.     I understand that the plaintiffs have been given leave to proceed in this

case on claims regarding their denial of access to medical, dental, and mental health

care, and on a claim regarding extreme conditions of isolation, during the modified

movement period at Waupun Correctional Institution beginning on March 29, 2023.

(Dkt. 15; Dkt. 14 ¶¶ 134-143.)

      6.     I have access to the Inmate Complaint Tracking System (ICTS), which

is a database that stores all documents and reports submitted and generated through

the ICRS.

      7.     I have reviewed the Inmate Complaint History Reports for each of the

plaintiffs during the relevant time period.

      8.     A true and accurate copy of John Anderson’s (DOC#91384) Inmate

Complaint History Report as of January 2, 2024, is attached hereto as Exhibit 1000.

      9.     A true and accurate copy of WCI-2023-8196, filed by Anderson on June

5, 2023, is attached hereto as Exhibit 1001.

      10.    A true and accurate copy of WCI-2023-13260, filed by Anderson on

September 5, 2023, is attached hereto as Exhibit 1002.

      11.    The Office of the Secretary issued a final decision on WCI-2023-13260

on December 7, 2023. (Ex. 1002 at 6.)




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        12.   A true and accurate copy of Patrick Kurkowski (DOC#542962) Inmate

Complaint History Report as of January 2, 2024, is attached hereto as Exhibit 1003.

        13.   A true and accurate copy of WCI-2023-12447, filed on August 21, 2023,

is attached hereto as Exhibit 1004.

        14.   A true and accurate copy of WCI-2023-12844, filed on August 28, 2023

is attached hereto as Exhibit 1005.

        15.   Both WCI-2023-12447 and WCI-2023-12844 were rejected by the

Inmate Complaint Examiner, and neither rejection was appealed to the Reviewing

Authority. (Ex. 1004 at 4; Ex. 1005 at 4.)

        16.   A true and accurate copy of Kenneth Dalberg’s (DOC#114187) Inmate

Complaint History Report as of January 14, 2024, is attached hereto as Exhibit

1006.

        17.   A true and accurate copy of WCI-2023-10705, filed by Dalberg on July

20, 2023, is attached hereto as Exhibit 1007.

        18.   A true and accurate copy of Jayvon Flemming’s (DOC#556607) Inmate

Complaint History Report as of January 2, 2024, is attached hereto as Exhibit 1008.

        19.   A true and accurate copy of WCI-2023-12289, filed by Flemming on

August 15, 2023, is attached hereto as Exhibit 1009.

        20.   The Office of the Secretary issued a final decision dismissing WCI-2023-

12289 on October 31, 2023. (Ex. 1009 at 6.)

        21.   A true and accurate copy of WCI-2023-14913, filed by Flemming on

October 4, 2023, is attached hereto as Exhibit 1010.




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      22.   The Office of the Secretary issued a final decision dismissing WCI-2023-

14913 on December 20, 2023. (Ex. 1010 at 7.)

      23.   A true and accurate copy of Jason Natcone’s (DOC#365048) Inmate

Complaint History Report as of January 2, 2024, is attached hereto as Exhibit 1011.

      24.   A true and accurate copy of WCI-2023-8465, filed by Natcone on June 9,

2023, is attached hereto as Exhibit 1012.

      25.   A true and accurate copy of Justin Welch’s (DOC#579750) Inmate

Complaint History Report as of January 2, 2024, is attached hereto as Exhibit 1013.

      26.   A true and accurate copy of WCI-2023-8259, filed by Welch on June 5,

2023, is attached hereto as Exhibit 1014.

      27.   A true and accurate copy of Ashton Dreiling (DOC#673642) Inmate

Complaint History Report as of January 2, 2024, is attached hereto as Exhibit 1015.

      28.   A true and accurate copy of WCI-2023-10120, filed by Dreiling on July

5, 2023, is attached hereto as Exhibit 1016.

      29.   A true and accurate copy of Kevin Burkes’s (DOC#275991) Inmate

Complaint History Report as of January 2, 2024, is attached hereto as Exhibit 1017.

      30.   A true and accurate copy of WCI-2023-9370, filed by Burkes on June 26,

2023, is attached hereto as Exhibit 1018.

      31.   A true and accurate copy of WCI-2023-10358, filed by Burkes on July

12, 2023, is attached hereto as Exhibit 1019.

      32.   A true and accurate copy of Edgar Salinas-Leal’s (DOC#595980) Inmate

Complaint History Report as of January 2, 2024, is attached hereto as Exhibit 1020.




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      33.   A true and accurate copy of Bradley Schmitt’s (DOC#203199) Inmate

Complaint History Report as of January 2, 2024, is attached hereto as Exhibit 1021.

                                      Pursuant to 28 U.S.C. § 1746, I declare under
                                      penalty of perjury that the foregoing is true
                                      and correct.

                                      Executed this 21st day of March, 2024.


                                      s/Emily Davidson
                                      Emily Davidson




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